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                                   8                                UNITED STATES DISTRICT COURT
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                                                                 NORTHERN DISTRICT OF CALIFORNIA
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                                                                            SAN JOSE DIVISION
                                  11

                                  12                                                       Case No. 15-MD-02617-LHK
Northern District of California
 United States District Court




                                  13    IN RE ANTHEM, INC. DATA BREACH                     CASE MANAGEMENT ORDER
                                        LITIGATION
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                                       Interim Plaintiffs’ Counsel: Eve Cervantez; Andrew Friedman
                                  18
                                       Defendants’ Counsel: Craig Hoover; Desmond Hogan; Michael Maddigan; Maren Clouse; Chad
                                  19   Fuller

                                  20         A case management conference was held on September 10, 2015. For a list of all counsel
                                       who appeared at the case management conference, see ECF No. 280.
                                  21
                                                A further case management conference is set for October 23, 2015, at 4:00 p.m. The
                                  22
                                       parties shall file their joint case management statement by October 21, 2015, at 10:00 a.m. That
                                  23   joint statement shall propose the causes of action from the Consolidated Amended Complaint that
                                       will be the subject of the motion to dismiss. The Court is currently contemplating no more than a
                                  24   total of six causes of action in the motion to dismiss.
                                  25          The Court will not stay discovery against any defendants, including the Blue Cross Blue
                                       Shield Association (“BCBSA”) and non-Anthem BCBSA licensees. Nor will the Court divide the
                                  26
                                       MDL into two tracks, as proposed by counsel for the plaintiff in Ross v. Blue Cross Blue Shield
                                  27   Ass’n et al. (Case No. 15-CV-03744-LHK).

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                                       Case No. 15-MD-02617-LHK
                                       CASE MANAGEMENT ORDER
                                              The page limits for the motion to dismiss and the motion for class certification shall be
                                   1   governed by the Court’s Civil Local Rules: twenty-five (25) for the motion, twenty-five (25) for
                                   2   the opposition, and fifteen (15) for any reply. The Court is currently contemplating a total of no
                                       more than three causes of action in the motion for class certification. Each side is limited to three
                                   3   (3) Daubert motions in connection with class certification. The page limits are four (4) for the
                                       motions, four (4) for the oppositions, and three (3) for any replies.
                                   4
                                              The Court ruled on the motions for appointment of lead plaintiffs’ counsel on September
                                   5   11, 2015. ECF No. 284.
                                   6
                                              Accordingly, the case schedule is as follows:
                                   7

                                   8    Scheduled Event                                Date
                                   9    Deadline to File Protective Order              September 18, 2015

                                  10    Start of Fact Discovery                        September 21, 2015
                                        Deadline for Defendants to Produce             September 25, 2015
                                  11
                                        Mandiant Forensic Report
                                  12    Deadline to File Consolidated Amended          October 19, 2015
Northern District of California
 United States District Court




                                        Complaint
                                  13
                                        Further Case Management Conference             October 23, 2015, at 4:00 p.m.
                                  14
                                        Deadline to Exchange Initial Disclosures       November 2, 2015
                                  15
                                        Deadline for Disclosures of Non-Party          November 2, 2015
                                  16    Interested Entities or Persons
                                        Briefing Schedule on Motion to Dismiss         Motion: November 16, 2015
                                  17
                                                                                       Opp’n: December 14, 2015
                                  18                                                   Reply: January 11, 2016
                                        Hearing on Motion to Dismiss                   February 4, 2016, at 1:30 p.m.
                                  19
                                        Deadline to File Second Consolidated           30 Days After Ruling on Motion to Dismiss
                                  20    Amended Complaint
                                  21    Deadline to File Second Round Motion to        21 Days After Filing of Second
                                        Dismiss, if any                                Consolidated Amended Complaint
                                  22
                                        Deadline to File Opposition to Second          21 Days After Filing of Second Round
                                  23    Round Motion to Dismiss, if any                Motion to Dismiss
                                  24    Deadline to File Reply in Support of           14 Days After Filing of Opposition to
                                        Second Round Motion to Dismiss, if any         Second Round Motion to Dismiss
                                  25
                                        Hearing on Second Round Motion to              May 26, 2016, at 1:30 p.m.
                                  26    Dismiss, if any

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                                       Case No. 15-MD-02617-LHK
                                       CASE MANAGEMENT ORDER
                                        Scheduled Event                                Date
                                   1
                                        Close of Fact Discovery                        October 17, 2016
                                   2                                                   (July 25, 2016)1
                                   3    Identification of Plaintiffs’ Experts for      November 7, 2016
                                        Class Certification and Report                 (August 15, 2016)
                                   4
                                        Identification of Defendants’ Experts for      November 28, 2016
                                   5    Class Certification and Report                 (September 6, 2016)

                                   6    Identification of Plaintiffs’ Rebuttal         December 19, 2016
                                        Witnesses for Class Certification and          (September 26, 2016)
                                   7    Report

                                   8    Last Day to Depose Experts                     January 23, 2017
                                        (i.e., Close of Expert Discovery)              (October 31, 2016)
                                   9    Last Day to Amend Pleadings/Add Parties        February 3, 2017
                                  10                                                   (November 14, 2016)
                                        Deadline to File Motion for Class              February 17, 2017
                                  11
                                        Certification and Opening Daubert              (November 30, 2016)
                                  12    Motions
Northern District of California
 United States District Court




                                        Deadline to File Opposition to Motion for      March 17, 2017
                                  13
                                        Class Certification and Oppositions to         (January 6, 2017)
                                  14    Daubert Motions
                                        Deadline to File Reply in Support of           April 14, 2017
                                  15
                                        Motion for Class Certification and Daubert     (February 3, 2017)
                                  16    Replies
                                        Hearing on Motion for Class Certification      May 4, 2017, at 1:30 p.m.
                                  17
                                        and Daubert Motions                            (February 23, 2017, at 1:30 p.m.)
                                  18
                                       IT IS SO ORDERED.
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                                       Dated: September 11, 2015
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                                                                                        ______________________________________
                                  22                                                    LUCY H. KOH
                                                                                        United States District Judge
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                                                  Dates in parentheses assume no second round motion to dismiss is filed.
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                                       Case No. 15-MD-02617-LHK
                                       CASE MANAGEMENT ORDER
